          Case 1:21-cr-00296-RDM Document 34 Filed 04/28/22 Page 1 of 2

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff;             )
                                                      )
                       v.                             )         Case No. 21-CR- 296 (RDM)
                                                      )
JEFFREY GRACE,                                        )
                                                      )
                               Defendant.             )



                                      U   JOINT STATUS REPORT

       Defendant, Jeffrey Grace, through undersigned counsel, and after consultation with the

Government, through Assistant United States Attorney Mona Sedky, submits the following Joint

Status Report in response to the Court’s March 16, 2022, Minute Order:

       The parties are finalizing a pre-trial resolution of this matter and expect to have all the

necessary paperwork executed and forwarded to the Court for review in the next 30 days. The

parties therefore request that the Court set a plea date in this case on a date after May 27, 2022.

       If the Court grants the parties’ request, the parties agree to exclude time under the Speedy

Trial Act from April 28, 2022, until a date after May, 27, 2022, and ask the Court to find that the

ends of justice served by this requested continuance outweigh the best interest of the public and

the defendant in a speedy trial, as the additional time will allow the parties to complete their

discussions concerning a pre-trial resolution of this matter.

                                                      Respectfully submitted,


                                                      A.J. Kramer
                                                      Federal Public Defender

                                                      /s/ David W. Bos
                                                      Assistant Federal Public Defender
                                                      625 Indiana Ave., N.W., Suite 550
                                 Washington,
Case 1:21-cr-00296-RDM Document 34           D.C. 20004
                                    Filed 04/28/22    Page 2 of 2
                                (202) 208-7500, ext. 118
